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                                  UNITED STATES DISTRICT COURT
                                       DISTRICT OF OREGON
                                       PORTLAND DIVISION
DISABILITY RIGHTS OREGON,
METROPOLITAN PUBLIC DEFENDER
                                                        Case No. 3:02-cv-00339-MO (Lead Case)
SERVICES, INC., & A.J. MADISON,
                                                        Case No. 3:21-cv-01637-MO (Member Case)
Plaintiffs,
v.
                                                        PLAINTIFF DISABILITY RIGHTS
SAJEL HATHI, in her official capacity as head
                                                        OREGON’S REPLY TO ITS MOTION FOR
of the Oregon Health Authority, & SARA
                                                        A RULE TO SHOW CAUSE WHY
WALKER, in her official capacity as
                                                        DEFENDANTS SHOULD NOT BE HELD
Superintendent of the Oregon State Hospital,
                                                        IN CONTEMPT, AND FOR A REMEDIAL
Defendants.
                                                        ORDER
JAROD BOWMAN and JOSHAWN
DOUGLAS-SIMPSON,
Plaintiffs,
v.
SARA WALKER, Interim Superintendent of the
Oregon State Hospital, in her official capacity,
SAJEL HATHI, Director of the Oregon Health
Authority, in her official capacity,
Defendants.

“Lack of funds, staff or facilities cannot justify the State's failure to provide [such persons] with
                           [the] treatment necessary for rehabilitation.”
         - OAC v. Mink, 322 F.3d at 1121 (quoting Ohlinger v. Watson, 652 F.2d 775, 779 (1980).

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     Defendants cannot justify their lack of compliance based on inadequate resources pursuant

to the well-established law in this land. It is not a permissible defense to point to either the “lack

of community placements” or an inadequate “array of hospital level of care (HLOC) or secure

residential treatment facility (SRTF) beds, which would be the most direct way to ensure an

immediate ability to meet any predictable demand to comply with the Mink Injunction.”

Defendants’ Response Brief (hereinafter, “Response”) at 18 and 11.

     This Court’s specific requirement is no different from any of the other constitutional

requirements placed upon the government whenever it chooses to charge a person with a crime.

None of those requirements are optional or conditioned on adequate funding or facilities. Brown

v. Plata, 563 U.S. 493, 528 (2011) (upholding court-ordered releases from California prisons for

unconstitutional overcrowding where “funding for some plans [to increase capacity] had not

been secured and funding for other plans had been delayed by the legislature for years”). “A state

cannot avoid the obligation of correcting the constitutional violations of its institutions simply by

pleading fiscal inability.” New York State Ass'n for Retarded Child., Inc. v. Carey, 631 F.2d 162,

165 (2d Cir. 1980). Instead, timely transfer for court ordered treatment is a constitutional

requirement, not subject to the whims of politicians or shifting priorities of agency directors.

Harris v. City of Philadelphia, 47 F.3d 1311, 1327 (3d Cir. 1995) (“[E]lection of a new

administration does not relieve it of valid obligations assumed by previous administrations.”).

Judge Panner appropriately rejected Defendants’ attempts to excuse their lack of compliance

with the constitution based upon these same defenses in 2002, and this Court should reject

Defendants’ attempts to re-litigate these issues today.

     All Parties agree Defendants are not in compliance. Response, at 1; Joinder, at 2.

Nevertheless, Defendants urge the Court to refrain from entering a contempt finding, arguing

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that they have taken “all reasonable steps” to comply with the injunction. Response, at 6. The

Court should reject the Defendants’ arguments for several reasons. First, this Court considered

and rejected many of these arguments in the original trial, and Defendants are precluded from re-

litigating them here. Second, Defendants have pointed to an alleged unprecedented referral rate

since at least 2019. See Dkt. 103, 1 & 5. Finally, Defendants’ entire defense fails to acknowledge

the simple reasonable step they could have taken to comply: discharging patients found to no

longer require a hospital level of care. Defendants’ own data proves both why timely discharging

of patients is a reasonable step to ensure compliance: there are 84 people waiting in jail for over

two weeks to get to the state hospital and the exact same number of patients – 84 - taking up

precious hospital beds for over a month despite being found to no longer need them.1

                                     I.      ARGUMENT

A.        Defendants are precluded from re-litigating most of their arguments.

          In their contempt defense, Defendants may not rely on the same arguments about the lack

of resources or facilities that it raised in 2002. See Dkt. 47 at 12. A party charged with contempt

of an order may not defend itself by challenging the reasons for issuing the order in the first

place or by re-litigating its original defenses. United States v. Bright, 596 F.3d 683, 694 (9th Cir.

2010); United States v. Brown, 918 F.2d 82, 83 (9th Cir. 1990) (contemnor could not relitigate

constitutional defense because “the same claim had been raised and rejected by the magistrate

and the district court in the earlier enforcement proceedings”).

          This Court determined and the Ninth Circuit reiterated that a “lack of funds, staff, or

facilities” cannot excuse the denial of the constitutional right to mental health treatment of the



1
    Stenson Decl., Ex. I, at 1.

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dozens of detainees currently going through psychiatric crises in jails across the state without

adequate treatment. Oregon Advocacy Ctr. v. Mink, 322 F.3d 1101, 1121 (9th Cir. 2003).

Throughout their response, Defendants reiterate the same arguments rejected more than two

decades ago. A scrutiny of the compliance barriers identified by the Defendants reveals they are

nothing more than lacking sufficient “funds, staff, or facilities.”2 For example, Defendants point

to the “lack of available community placements” as a circumstance outside of their control and

barrier to compliance. Response, at 11. The lack of resources to respond to the demand for those

services does not justify the violation of the constitutional rights of the individuals languishing in

jails for these court-ordered services. Ultimately, Defendants may not turn a contempt

proceeding into a “retrial of the original controversy” Maggio v. Zeitz, 333 U.S. 56, 69 (1948).

B.        Defendants’ argument invoking “all reasonable steps” fails as a civil contempt
          defense because they failed to eliminate every other possible avenue to comply.

          Defendants argue, “OHA/OSH have largely met or are actively engaged in meeting Dr.

Pinals’ recommendations, with some exceptions which are being addressed with Dr. Pinals and

discussed with MPD.” Response, at 4; see also 6 (emphasis added). The legal standard is neither

based on active engagement nor mere efforts. Rather, the legal standard to avoid a finding of

contempt is whether the violating party has taken “all reasonable steps” to comply with the court

order. Gen. Signal Corp. v. Donallco, Inc., 787 F.2d 1376, 1379 (9th Cir. 1986).

          A party advancing an “all reasonable steps” defense must not show simply that it pursued

some reasonable steps to meet the order’s requirements, but that it eliminated every other

possible avenue to comply. Kelly v. Wengler, 822 F.3d 1085, 1096 (9th Cir. 2016) (holding



2
 See Stenson Decl., Ex. K, at 11 (Oregon still needs over 3700 treatment beds that are not yet
even planned); Ex. L (Oregon has created only 184 beds over the past two years); Ex. O.

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contemnor failed to rebut burden by discussing “the steps it took to comply with the settlement

agreement but fail[ed] to mention other reasonable steps it could have taken”). A party alleging

that it cannot fully comply with a court order has the burden of showing why it cannot comply

fully and must do so “categorically and in detail.” N.L.R.B. v. Trans Ocean Exp. Packing, Inc.,

473 F.2d 612, 616 (9th Cir. 1973).

          Courts have routinely rejected similar contemnor’s defenses, even where the party had

made substantial steps and investments towards compliance, but other steps could have been

taken. Stone v. City & Cty. of San Francisco, 968 F.2d 850, 858 (9th Cir. 1992), as amended

(Aug. 25, 1992) (holding evidence city “spent thirty million dollars on programs to cope with the

overcrowding program” did not fulfill every reasonable step defense nor make contempt finding

an abuse of discretion); see also Balla v. Idaho State Bd. of Corrections, 869 F.2d 471 (9th Cir.

1989)(holding state’s “accelerated efforts to provide additional space” to avoid overcrowding did

not make contempt order an abuse of discretion); Turay v. Seling, 108 F.Supp. 2d 1148, 1155

(W.D. Wash. 2000), aff’d in part, dismissed in part sub nom. Turay v. Anderson, 12 F.App’x 618

(9th Cir. 2001) (declining to abate contempt sanctions even where state was “approaching”

substantial compliance). Here, while Defendants allege that they have taken a number of steps to

avoid the current crisis, they have not taken all reasonable steps. In particular, DRO sent

Defendants two letters prior to the filing of this litigation asking for the Defendants to consider

taking additional steps to address their lack of compliance. Dkts. 541-4 and 5. We have yet to

receive a written response.

          1. Defendants’ Failure to Fully Implement Neutral Expert’s Recommendations Provides
             Contempt Evidence.




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          Defendants also allege they have taken all reasonable steps to comply with Dr. Pinals’

recommendations. A careful review of those recommendations reveals they have yet to be fully

implemented. For example, Defendants argue that they have taken the reasonable step to timely

discharge patients who have been put on the “Ready to Place List” due to a clinical finding that

they no longer require a hospital level of care. Response, 6-7. In describing these actions,

Defendants use words like “many efforts” or “conditionally paused while Defendants were in

compliance” but are now “re-engaging with this work.” Id. This is not all reasonable steps.

          Defendants go on to claim that the entity to blame for these discharge delays are the

county courts who are rejecting placement determinations made by OSH clinicians. Response, at

11; see Harris v. City of Philadelphia, 47 F.3d 1333, 1341 (3d Cir. 1995) (city failed to bear its

burden of showing impossibility in overcrowding contempt proceeding based on a theory of

“judicial resistance to paroling inmates,” because city had a substantial role in engendering that

resistance). Defendants fail to acknowledge that, by operation of Oregon law, a person subject to

a .370 order is committed “to the custody of the superintendent of a state mental hospital…” Or.

Rev. Stat. § 161.370(2)(a). From the moment the state court judge signs the order, the person is

in the legal custody of the Defendants.

          County jails are routinely faced with the problem of having more prisoners committed to

their custody than they have bed space. When faced with that problem, county sheriffs routinely

release people who have been ordered into their custody. See, e.g., Twelve John Does v. D.C.,

855 F.2d 874, 878 (D.C. Cir. 1988) (an institution cannot assert as part of an impossibility

defense “a lack of power to alleviate the overcrowding, even if that means release of or refusal to




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accept prisoners”).3 Defendants do not explain what legally prevents them from doing the very

same thing except that they want to avoid the ire of county judges (“Additionally, MPD’s request

would require discharge over contrary state-court orders, which will cause outrage and backlash

from state-court judges.”) Response, at 18. Avoiding “outrage and backlash” is not a legal

defense to violating a constitutional obligation. See Twelve John Does, 855 F.2d at 877 (moves

to reduce overcrowding that may be unpopular are not “impossible”).

          2. Defendant OHA Cannot Contract Away Its Legal Responsibility to Provide
             Community Behavioral Health Services as Means to Avoid Contempt

          Starting in January 2022, the Neutral Expert has been recommending that OHA to

coordinate community behavioral health care options to divert individuals found unable to aid

and assist in their own defense from the state hospital “maximizing the utilization of hospital

beds for those in need of a hospital to support their recovery.” Neutral Expert First Report, p. 16.

While the Oregon Health Authority (OHA) is not responsible for criminal justice practices, it is

the primary administrative authority over behavioral health in Oregon. OHA can provide

increased community-based services, supportive housing, and other supports to divert individuals

from either jail or the state hospital. ORS 426.500; ORS 426.504; ORS 430.021.4 Each of these

services are examples of reasonable steps OHA should have taken to implement Dr. Pinals

recommendations and avoid falling out of compliance with this Court’s permanent injunction.


3
  See also KTVL-TV, Overcrowded Jackson County Jail Released the Most Prisoners in Oregon
in 6 Years, June 28, 2022 (indicating Jackson County released an average of 5300 prisoners
released each year since 2016 to avoid overcrowding).
4
  Defendants claim they have met Dr. Pinals’ recommendations to expand substance use disorder
treatments. Response, at 10. They cite to the work being done at Oregon State Hospital and an
additional policy option package. Id. However, Dr. Pinals specifically recommended that this
treatment be expanded into the community restoration programs. Neutral Expert Second Report,
p. 26. There is no evidence that this step was taken outside a funding request nearly two years
after the recommendation was made.

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Ultimately, OHA is the state entity responsible for providing most of the state’s health care

programs, including providing mental health evaluation, treatment, and services for Behavioral

Health Services. See e.g., OAR 301-088 through 309-120.

          Because of OHA’s position in administrating services from community restoration to

state hospital admission and discharge, it is in the best position to reduce admissions to the

hospital by increasing system capacity and related services to reduce the demand for inpatient

services. This is why Plaintiffs DRO raised the example of the OHA entering into an agreement

with the United States Department of Justice (the “Oregon Performance Plan”) to ensure

individuals with mental illness are in the least restrictive environment including timely

discharges from the state hospital. Defendants have used their authority in the past to comply

with their federal obligations and Plaintiff DRO is simply seeking similar, urgent leadership from

the state agency ultimately responsible for community behavioral health.

          Defendants also claim that the “unpredictable” referral rate is a circumstance outside of

their control. Response, at 11.5 Yet, failing to take adequate steps to address an anticipated rise in

a subject population is evidence of contempt. Stone, 968 F.2d at 858 (noting the population

increases at the jail had been widely anticipated and not been adequately addressed). Here,

Defendants have known for a least a decade that the referral rate is going up but have failed to

fully fund the community behavioral health system even after the United States Department of

Justice raised the same or similar concerns over a decade ago. Even if the referral rate were




5
  The rise in population—although it unquestionably has spikes and dips—follows a linear
progression over time. In 2012, an average of 30.5 people were referred to OSH as in need of
restoration each month; six years later, in 2018, 60.8 were referred each month; six years further
on, in 2024, the average was 97.7. Stenson Decl., Ex. H, at 12.

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unpredictable, more drastic relief is appropriate where “previous remedial efforts had succumbed

to the inexorably rising tide of population.” Brown, 563 U.S. at 528.

          Further, having insufficient funds to comply with an order or having funds that are not

earmarked for a designated purpose are not defenses to contempt. Hook v. Arizona Dept. of

Corrections, 107 F.3d 1397, 1404 (9th Cir. 1997), as amended (Apr. 22, 1997) (fact that Arizona

legislature specifically prohibited spending money to comply with the order did not excuse

Department of Corrections’ contempt); Stone, 968 F.2d at 858 (“[F]inancial constraints do not

allow states to deprive persons of their constitutional rights.”). Since adding resources are all

scalable responses to fix this problem, Defendants must explain why adding more staff, more

funding, and more space in anticipation of this need was impossible to prevent these

Constitutional violations. Considering the size of the Behavioral Health Investments (more than

$111 million in the 2023-25 biennium), diverting more resources to accommodate more “aid and

assist” patients is not obviously unworkable or unreasonable. See ST. OF OR. LEGIS. Fiscal OFF.,

2023-25 Budget Highlights (2023).

          Dr. Pinals also recommended OHA to “review existing contracts with the CCOs and

CMHP’s to determine the scope of existing contractual obligations to serve Aid and Assist and

GEI populations.” Neutral Expert Second Report, pgs. 26 and 33. While the Defendants allege

that they have spent some money creating community-based restoration services, additional

evaluators, and community placements, nowhere do they explain why that amount of money was

the right amount of money, or why the state could not or should not have spent more.

Defendants’ discussion of their role emphasizes a passive approach to its role in managing this

system, by emphasizing its “indirect funding” scheme and diminishing its function to the passive

provision of funds, which private entities, Community Mental Health Providers (CMHPs), and

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Coordinated Care Organizations (CCOs) must seize the initiative to use or request additional

funds to meet the needs of their community members.6

          Defendants sit atop a complex hierarchy of the Oregon mental health system. Defendants

“shall directly or by contract with private or public entities” fund, regulate, and operate the

statewide mental health system. ORS 430.021(2); see also ORS 413.032(1)(d) &(1)(e); ORS

426.500. Oregon is ultimately responsible for ensuring the right to affordable, appropriate health

care to all Oregonians. Or. Const., Art. I, § 47. Defendants falsely indicate that they can

“delegate to the counties the responsibility” to care for people with mental illness, including in

the aid-and-assist and GEI populations. ECF 556, at 7. While Defendants can contract for those

services with CCOs, CMHPs, and private entities, OHA is without power to contract away its

legal responsibilities to ensure that the contracted-for services meet the needs of Oregonians.

It is impossible to assess whether or to what extent the proposed changes to the CCO and CMHP

contracts reflect “all reasonable steps” or otherwise genuine improvements due to the generic

characterizations listed in Defendants’ response.

          The little evidence at hand demonstrates the inadequacy of Defendants’ efforts to

implement Dr. Pinal’s recommendations. As Defendants admit, they still have not reformed the

CCO contract process, reporting instead that “changes are currently in motion” to affect the CCO

contracts. ECF 563, at 8; id. at 9 (“appropriate updates to the 2026 CCO Contract are actively


6
  As an example of this passive role, OHA authorizes grant payments but provides no meaningful
advocacy to recruit providers, to work with them to overcome barriers, and to ensure the grant
monies are actually used for the intended purpose. In 2021, the state legislature allotted funds for
four peer-supported respite care sites around the state for people with mental illnesses at risk of
hospitalization. See ORS 430.275. After almost four years, only one of the four sites is currently
functioning, in part because of OHA’s passive role in the process, refusing to support one
grantee in a zoning dispute with a local government. See Declaration of Thomas Stenson, ¶¶ 3-
18.

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being reviewed now”). Instead, Defendants’ briefing demonstrates that more could have been

done to prevent noncompliance, by moving forward and finalizing changes to the CCO contract

at any point between 2019 and the present. At the county/CMHP level, OHA fails to

appropriately fund restoration services. A recent study commissioned by OHA showed that

Defendants fail to provide tens of millions of dollars in needed funding to CMHPs for restoration

services, crisis care, and civil commitment.7 The stark deficits of the CMHP and CCO contracts

remain today.

          Even as they bear the central responsibility to ensure statewide mental health services,

Defendants passively stand to the side of Plaintiff MPD’s request to fund a study to determine

how to increase the supply of community behavioral health services, address gaps in care, and

come up with a compliance plan based on actual metrics. Response, at 3. This passivity should

not be tolerated given the gravity of the state’s failure to protect the constitutional rights of over

eighty people and counting.

C.        Plaintiff DRO’s relief is reasonably tailored to address Defendants’ contempt, of
          which the character and magnitude of the harm is significant, and a contempt
          finding and sanctions are likely to be effective at purging Defendants’ contempt.

          Defendants dismiss Plaintiff DRO’s request for relief as not “reasonably tailored” and

inappropriate for federal court relief. Response, at 5. This claim lacks factual and legal merit.

Factually, for example, Defendants’ data reveals that 51 GEI patients have been found to no

longer require a hospital level of care and are taking up a precious hospital bed, on average, 219

days. Yet, Defendants argue that taking the reasonable step of timely discharging GEI patients



7
 CBIZ Optumas, Oregon Health Authority: Expenditures Associated with Behavioral Health
Services through Local Mental Health Authorities (LMHAs) and Community Mental Health
Programs (CMHPs) – House Bill 4092, at 1-2 (Dec. 2024).

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“is not needed at this time.” Id. at 19. Similarly, Defendants claim that hiring more evaluators to

see if the nearly 300 people in indefinite community restoration still need to take up that limited

resource is “too premature” in part because there are no “statutory timeframes” despite Dr.

Pinals’ long-standing recommendation to also implement those limits. Id. at 19.

   Relief is warranted here because this Court has broad remedial powers to address

noncompliance. Stone, 968 F.2d at 861-62 (affirming court’s power to authorize sheriff to

override state law). See also, e.g., Brown v. Plata, 563 U.S. 493 (2011) (imposing prison

population limit); Nat’l Org. for the Reform of Marijuana Laws v. Mullen, 828 F.2d 536 (9th Cir.

1987) (affirming appointment of a Special Master). When the least intrusive measures fail to

rectify the problems, more intrusive measures are justifiable. Stone, 968 F.2d at 861 (citing Hutto

v. Finney, 437 U.S. 678, 687 n.9 (1978)).

   Extraordinary circumstances requiring a Court to reject abstention arguments include when a

party suffers irreparable injury including death. See Betschart v. Oregon, 103 F.4th 607, 617/620

(9th Cir. 2024). Here, the Court has a valid basis to use its broad powers to compel Defendants to

comply with the Court’s orders. The numbers of people waiting in jail and how long they are

waiting is only increasing; many have died, and others have been irreparably injured. Defendants

cannot tell this Court when it will comply or how. Plaintiff DRO cannot fathom a more

extraordinary circumstance nor a more tailored request for relief beyond 1) modifying the

Court’s remedial order to fully implement the neutral expert’s recommendations, 2) conducting a

study to determine how to right size the forensic mental health system, and 3) levying contempt

sanctions to help fully fund the array of community-based placements and services for those

whose mental illnesses have decompensated, which Defendants acknowledge will yield

compliance.

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                                        IV.     CONCLUSION

          Defendants have failed to provide court ordered restoration services within seven days in

violation of this Court’s orders. If Defendants fail to show cause why they have violated these

court orders, Plaintiffs request the Court to use its broad authority to find Defendants in

contempt, levy contempt sanctions until compliance is reached, and modify the Court’s order to

impose additional injunctive relief.



          DATED this 14th day of February 2025.
                                                       DISABILITY RIGHTS OREGON

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